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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA
                                    Fort Pierce Division

                                      CASE NO. 16-CV-14550

  PATRICIA KENNEDY,                        )
                                           )
         Plaintiff,                        )
                                           )
  v.                                       )
                                           )
  JENSEN STATION SHOPS OWNER’S             )
  ASSOCIATION, INC., NPB RESTAURANT,       )
  INC. d/b/a PETER’S STEAKHOUSE, NEW       )
  CREATIONS HAIR SALON, LLC. and S&N       )
  INVESTORS, INC. d/b/a THE PINK COTTAGE )
  SPA AT JENSEN DAY SPA & BEAUTIQUE,       )
                                           )
         Defendants.                       )
                                     ______)

             JOINT STIPULATION OF FINAL DISMISSAL WITH PREJUDICE AND
                          RETENTION OF JURISDICTION

        Plaintiff PATRICIA KENNEDY (“Plaintiff”) and Defendant JENSEN STATION SHOPS

  OWNER’S ASSOCIATION, INC. (collectively, the “Parties”), by and through undersigned

  counsel, and pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), hereby STIPULATE

  AND AGREE that, pursuant to the Confidential Settlement Agreement entered into by them on

  April 24, 2017, the Parties respectfully request the Court enter an Order Dismissing this cause with

  Prejudice and retaining jurisdiction to:

        (1) Enforce the terms of said Settlement Agreement.

         The effectiveness of this stipulation of dismissal is conditioned upon the Court’s entry of

  an order retaining jurisdiction to enforce the terms of the settlement agreement reached in this

  caseSee Anago Franchising, Inc. v. Shaz, LLC, 677 F.3d 1272, 1280 (11th Cir. 2012).

        STIPULATED AND AGREED by Counsel for the Parties on the dates below written.


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       Respectfully Submitted,

  By: s/ Eric Matthew Rodriguez               By: s/ Jessica L. Gregory
     Eric Matthew Rodriguez, Esq.                Jessica L. Gregory, Esq.
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                                    CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing was served on June 1,

  2017 via CM/ECF upon: Nolan Klein, Esq., klein@nklegal.com, Carri S. Leininger, Esq., Jessica

  L. Gregory, Esq., eservice@wlclaw.com

                                               By: s/ Eric Matthew Rodriguez
                                                   Eric Matthew Rodriguez, Esq.
                                                   Fla Bar. No.: 0123057




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